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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Robert Ross CASE No C 19-6669-JST
, Plaintifi(s) ADR CERTIFICATION BY
, PARTIES AND COUNSEL
AT&T Mobility LLC
Defendant(s)

 

 

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
(available at cand.uscourts.gov/adr).

2) Discussed with each other the available dispute resolution options provided by the Court
and private entities; and

3) Considered whether this case might benefit from any of the available dispute resolution

 

 

options.
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"Party (A TST MobilthALLe
Date:03/03/2020 jel waveallug A.MéRoe © Shiite)
Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:

1 intend to stipulate to an ADR process

E) prefer to discuss ADR selection with the Assigned Judge at the case management
conference

Date: 03/03/2020 /s/ Marcellus A. McRae
Attorney

 

i! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
Options.”

Form ADR-Cert rev. 1-15-2019
